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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  In re:
                                            Chapter 11
    MALLINCKRODT, PLC, et al.,              Case No. 20-12522-JTD
                                            (Jointly Administered)
                   Debtors.


  SANOFI-AVENTIS U.S. LLC,
                                            Appeal from the Bankruptcy Court
               Appellant,

                        v.
                                            Case No. 21-cv-01636-TLA
    MALLINCKRODT, PLC, et al.,
                        Appellees.



        STIPULATION BETWEEN APPELLANTS AND APPELLEES
      EXTENDING DEADLINES WITH RESPECT TO REORGANIZED
     DEBTORS’ MOTION TO DISMISS APPEAL AS EQUITABLY MOOT

           This Stipulation is entered into by and between appellant sanofi-aventis U.S.

 LLC (“Appellant”) and appellees Mallinckrodt, plc et al. (“Appellees”).

           WHEREAS Appellees filed the Reorganized Debtors’ Motion to Dismiss

 Appeal as Equitably Moot (the “Motion”) on July 1, 2022; and

           WHEREAS pursuant to Rule 8013 of the Federal Rules of Bankruptcy

 Procedures, a response to a motion must be filed with seven days of service of the




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 motion, and a reply to a response must be filed with seven days of service of the

 response; and

          WHEREAS, Appellant and Appellees have agreed to extend the deadlines

 for filing a response and a reply to the Motion as set forth below.

          NOW THEREFORE, Appellant and Appellees stipulate and agree as

 follows:

          1.       The deadline for Appellant to file a response (“Response”) to the

 Motion shall be extended through and including July 22, 2022.

          2.       The deadline for Appellees to file a reply to the Response shall be

 extended through and including August 5, 2022.




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Dated: July 7, 2022
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             SO ORDERED this             day of July, 2022.



                                           Thomas L. Ambro
                                           United States Circuit Judge




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